Case 2:20-cv-00396-JLB-NPM Document 81 Filed 12/01/21 Page 1 of 4 PagelD 695

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Certificate of Service

I Hereby certify that a true and correct copy of the foregoing has been mailed on
Novenber g3% __, 2021 to the: United States District Court, Middle District of
Florida, Ft. Myers Division; 2110 First Street; Ft. Myers, Florida 33901 AND also

duplicate copies to Defendants and Defendant's.

Attorney(s) Eugenia Izmaylova and Linda Shaljani at the Office of the Attorney General,
3507 E. Frontage Rd., Suite 150, Tampa, Florida 33607 via U.S. Mail through certified
legal mail prison officials at RMC. Main Unit P.O. Box 628, Lake Butler, FL. 32054 this

232 day of Nwwemdu~_, 2021.

Respectfully Submitted,

(S)

 

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Pro Se, X25395
R.M.C. - Main Unit
P.O. Box 628

Lake Butler, FL.
32054
